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                                                                           HON. THERESA L. FRICKE
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 6                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8   LIVANOVA USA, INC.,
                                                           CASE NO. 2:24-cv-00222-TLF
 9
                                   Plaintiff,
10
                    v.                                     NOTICE OF PENDENCY OF OTHER
11                                                         ACTION
     DANIEL J. DILORENZO, DILORENZO
12   BIOMEDICAL, LLC (UBI: 602506158), AND
     DILORENZO BIOMEDICAL, LLC (UBI:
13
     604720164),
14
                                   Defendants.
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16
            In accordance with Local Civil Rule 3(h), which requires identification of any action
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     pending in another jurisdiction that “involves all or a material part of the same subject matter and
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     all or substantially the same parties,” Plaintiff LivaNova USA, Inc. (“LivaNova USA”) hereby
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     provides Notice of the following action potentially falling within the scope of the Rule:
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21         DiLorenzo Biomedical, LLC v. LivaNova, Inc., No. 4:23-cv-01800, filed on May 17, 2023,
            in the Southern District of Texas, Judge Andrew S. Hanen (“Texas Action”).
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            While there is some overlap between the parties to the Texas Action and the parties to the
23
     above-captioned matter pending in this Court (“Washington Action”), it is unclear whether the two
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     actions involve “substantially the same parties” as the phrase is used in Rule 3(h). Specifically,
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     DiLorenzo Biomedical, LLC (UBI: 604720164) and LivaNova USA are parties to both actions.
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     NOTICE OF PENDENCY OF OTHER ACTION - 1                               SUMMIT LAW GROUP, PLLC
     CASE NO. 2:24-cv-00222-TLF                                             315 FIFTH AVENUE SOUTH, SUITE 1000
                                                                             SEATTLE, WASHINGTON 98104-2682
                                                                                  Telephone: (206) 676-7000
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 1   However, one of the defendants in the Texas Action (LivaNova, Inc.) is not a party to the

 2   Washington Action. Likewise, two of the defendants in the Washington Action (Daniel J.

 3   DiLorenzo and DiLorenzo Biomedical, LLC (UBI: 602506158)) are not parties to the Texas

 4   Action.

 5                The two actions do not “involve[] all or a material part of the same subject matter.” In the

 6   Texas Action, DiLorenzo Biomedical, LLC (UBI: 604720164) 1 asserts claims of infringement of

 7   three patents (“Patents in Suit”) against LivaNova, Inc. and LivaNova USA in connection with the

 8   sale of LivaNova’s epilepsy treatment products. The Texas Action is presently stayed, pending

 9   the court’s ruling on defendants’ motion to dismiss, filed on October 16, 2023. See Texas Action,

10   Dkts. 21, 28. A trial date has not been set.

11                In the Washington Action, Plaintiff LivaNova USA asserts breach of contract and other

12   claims relating to, among other things, Defendants’ violation of obligations relating to one of the

13   Patents in Suit, a similarly situated patent not involved in the Texas Action, and related underlying

14   claimed innovations. The Washington Action does not include any claims for patent infringement

15   or involve the other two Patents in Suit.

16                LivaNova USA submits that transfer is not proper, including under 28 U.S.C. §1407, and

17   that coordination between the Washington Action and the Texas Action would not avoid conflicts,

18   conserve resources, or promote an efficient resolution of the parties’ disputes given the differing

19   parties and subject matter of the two actions.

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26            A Defendant here.

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              Case 2:24-cv-00222-TLF Document 3 Filed 02/22/24 Page 3 of 3




 1         DATED this 22nd day of February, 2024.

 2                                            Respectfully submitted,
 3                                            SUMMIT LAW GROUP, PLLC

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